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Form 701
Secretary of State                                                                               Filed in the Office of the
P.O. Box 13697                                                                                Secretary of State of Texas
Austin, TX 78711-3697                                                                     Filing#: 804584868 05/26/2022
FAX: 512/463-5709                                                                           Document#: 1151816630002
                                             Registration of a                           Image Generated Electronically
Filing Fee: See Instructions                                                                                for Web Filing
                                       Limited Liability Partnership
1. The name of the partnership is:
   Lewis Brisbois Bisgaard & Smith, LLP

2. The partnership is a:   general partnership.

3. A.W The federal employer identification number is 882509410
   s.r The partnership has not obtained a federal employer identification number at this time.

4. The street address of the partnership's principal office in this state or outside of this state, as applicable, is
   503 FM 359-130, Suite 116, Richmond, TX, USA 77406-2195

5. The number of partners in the partnership at the date of the application is � .


6. The partnership's business is:
   Mediation and related services.

                                                 Effectiveness of Filing
PA. This document becomes effective when the document is filed by the secretary of state.
                                                        OR
rs.  This document becomes effective at a later date, which is not more than ninety (90) days from the date of its
signing. The delayed effective date is:


                                                         Execution
The undersigned person or persons sign this document subject to the penalties imposed by law for the submission of
a materially false or fraudulent instrument.
Date:   May 26, 2022
                                                                          Michael Bitgood
                                                        Signature(s)of a majority-in-interest of the partners, or by one
                                                       or more of the partners authorized by a majority-in-interest.

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                                                                                          EXHIBIT 6
